                                          Case 4:23-cv-03945-HSG Document 44 Filed 09/15/23 Page 1 of 3




                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                   4                                            ,           Case No.
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION
                                                   v.                                       OF ATTORNEY PRO HAC VICE;
                                   6
                                                                                            ORDER
                                   7                                            ,           (CIVIL LOCAL RULE 11-3)
                                                        Defendant(s).
                                   8
                                   9
                                  10          I,                              , an active member in good standing of the bar of

                                  11                                          , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing:                                    in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is                                   , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-

                                  16
                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL S ADDRESS OF RECORD

                                  18
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL S TELEPHONE # OF RECORD
                                  19

                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL S EMAIL ADDRESS OF RECORD

                                  21
                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is:                      .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26          I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                           Case 4:23-cv-03945-HSG Document 44 Filed 09/15/23 Page 2 of 3




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated:
                                                                                                     APPLICANT
                                   5
                                   6
                                   7
                                   8                                  ORDER GRANTING APPLICATION

                                   9                            FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10
                                  11            IT IS HEREBY ORDERED THAT the application of                                         is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:            9/15/2023

                                  16
                                  17
                                                                                  UNITED STATES DISTRICT JUDGE
                                  18
                                  19

                                  20

                                  21
                                  22

                                  23
                                  24

                                  25

                                  26
                                  27

                                  28
                                       Updated 11/2021                                   2
             Case 4:23-cv-03945-HSG Document 44 Filed 09/15/23 Page 3 of 3




                              The Supreme Court of Texas
                                                         AUSTIN
                                                   CLERK'S OFFICE




            I, BLAKE HAWTHORNE, Clerk of the Supreme Court of Texas, certify that the
    records of this office show that

                                               Batami Elaine Baskin

    was duly admitted and licensed as an attorney and counselor at law by the Supreme

    Court of Texas on the 4th day of November, 2011.

            I further certify that the records of this office show that, as of this date



                                               Batami Elaine Baskin



    is presently enrolled with the State Bar of Texas as an active member in good standing.


                                                    IN TESTIMONY WHEREOF witness my signature

                                                                   and the seal of the Supreme Court of

                                                                   Texas at the City of Austin, this, the

                                                                   5th day of July, 2023.

                                                                   BLAKE HAWTHORNE, Clerk



                                                                   Clerk, Supreme Court of Texas
    No. 7511C.1




This certification expires thirty days from this date, unless sooner revoked or rendered invalid by operation of rule or law.
